Case 16-65093-sms         Doc 100     Filed 04/22/21 Entered 04/22/21 08:29:10                   Desc Main
                                     Document     Page 1 of 18


                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

IN RE:                                                |
                                                      |
PAULA SPEROS VAN SICKLE,                              |         CHAPTER 13
                                                      |
         DEBTOR                                       |         CASE NO. 16-65093-SMS
                                                      |

            NOTICE OF PLEADING, DEADLINE TO OBJECT AND FOR HEARING

        PAULA SPEROS VAN SICKLE has filed an Amended Emergency Motion to Sell on April 22, 2021.
Pursuant to General Order No. 24-2018, the Court may consider this matter without further notice or a
hearing if no party in interest files a response or objection within twenty-one (21) days, plus three days if
served by mail, from the date of service of this notice. If you object to the relief requested in this
pleading, you must timely file your objection with the Bankruptcy Clerk at Clerk, U.S. Bankruptcy
Court, Suite 1340, 75 Ted Turner Dr. SW, Atlanta, Georgia 30303, and serve a copy on the movant's
attorney, R. Jeffrey Field, Jeff Field & Associates, 342 N. Clarendon, Scottdale, GA 30079, and any other
appropriate persons by the objection deadline. The response or objection must explain your position and
be actually received by the Bankruptcy Clerk within the required time.

        A hearing on the pleading has been scheduled May 25, 2021, at 10:00 am, in Courtroom
1201, 75 Ted Turner Dr. SW, Atlanta, Georgia 30303. If an objection or response is timely filed and
served, the hearing will proceed as scheduled. If you do not file a response or objection within the
time permitted, the Court may grant the relief requested without further notice or hearing
provided that an order approving the relief requested is entered at least one business day prior to the
scheduled hearing. If no objection is timely filed, but no order is entered granting the relief requested
at least one business day prior to the hearing, the hearing will be held at the time and place as
scheduled.

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

        Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top
of the GANB Website prior to the hearing for instructions on whether to appear in person or by
phone.

This April 22, 2021                                       Respectfully Submitted,
                                                          JEFF FIELD & ASSOCIATES

                                                          /s/ Christopher J. Sleeper
342 North Clarendon Avenue                                ____________________________________
Scottdale, GA 30079                                       CHRISTOPHER J. SLEEPER
404-499- 2700                                             Attorney for Debtor
contactus@fieldlawoffice.com                              State Bar No. 700884
Case 16-65093-sms        Doc 100    Filed 04/22/21 Entered 04/22/21 08:29:10             Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                            |
                                                  |
PAULA SPEROS VAN SICKLE,                          |       CHAPTER 13
                                                  |
         DEBTOR                                   |       CASE NO. 16-65093-SMS
                                                  |

                         AMENDED EMERGENCY MOTION TO SELL

         COMES NOW Paula Speros Van Sickle (“Debtor”), by and through counsel, and

respectfully requests to be permitted to sell certain real property and shows the Court as follows:

                                                 1.

         Debtor filed for relief under Chapter 13 of the U.S. Bankruptcy Code on August 30.

2016.

                                                 2.

         Debtor desires to sell real property located at 4938 Montford Court Duluth, GA 30096 to

a non-insider third party for the purchase price of $300,000.00 as reflected on the “Purchase and

Sale Agreement” dated April 20, 2021. A copy of the “Purchase and Sale Agreement” is attached

hereto as Exhibit “A”.

                                                 3.

         All liens and encumbrances will be satisfied at the closing that is currently scheduled for

June 10, 20221.

                                                 4.

         Debtor anticipates sufficient proceeds from the sale to pay the remaining balance in her

chapter 13 plan, which is approximately $17,819.84 as of the date of this motion.
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                                                5.

       Debtor desires to use the net sales proceeds to satisfy her chapter 13 plan and retain the

remaining net sales proceeds.

       WHEREFORE, Debtor prays that the Court approve the Motion to Sell Real Property and

for such other relief as the Court deems just and proper.




       This April 22, 2021
                                                 Respectfully Submitted,
                                                 JEFF FIELD & ASSOCIATES

                                                 /s/ Christopher J. Sleeper
                                                  ____________________________________
                                                  CHRISTOPHER J. SLEEPER
                                                  Attorney for Debtor
                                                  State Bar No. 700884
                                                  342 North Clarendon Avenue
                                                  Scottdale, GA 30079
                                                  404-499- 2700
                                                  contactus@fieldlawoffice.com
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                                                                    Document     Page 4 of 18
                                                                                    4/20/2021




                                                               4938         Montford Ct
                                           Duluth                                    Gwinnett                                          30096
                                                          8956956                                                          R6240 443
                                                                                    [select one of the following below]




                                                300,000.00                                                                             0.00

                                                           6/10/2021



                                                                                       Nogales & Associates
                                                                                        Nogales & Associates



                                          2,000.00                      3



                                                                                                             5


                                                                                 0.00
                                                                               n/a




                                             Hooker International Realty                                           BHGRE Metro Brokers




                    n/a
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                                                          [Applicable only if Broker is acting as a dual agent in this transaction.]
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                  Case 16-65093-sms
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                                                                Document    Page 10 of 18




                                                                                   A



                                                                      B




         1.Seller to leave home neat, clean free of any personal items or debris broom swept condition
         including back yard/exterior.

         2.Seller to provide 1 year home warranty max $550.

         3. Seller to leave all appliances, light fixtures and blinds.
dotloop signature verification: dtlp.us/HwTw-upCb-VlHp
                  Case 16-65093-sms
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                                                                                    Paula Van Sickle

           Dulanhe Hooker




                             Hooker International Realty                                               BHGRE Metro Brokers


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                                                                                     Brad Burns                          EH95-TBOA-2J2W-XTN3




          Lina Santiago                                            375494           Brad Burns                                   336425


                   404-319-1394                                                           404-843-2500                    770-645-7201

                                Lina@hookerrealty.com                                               bradburns@bellsouth.net




           3675 Crestwood Pkwy                           Duluth       GA    30096   1580 Holcomb Bridge Rd., S-26   Roswell           GA        30076


                   770-817-7641                               678-807-2990                 404-843-2500                   770-645-7201

                 GQIR01                                           65682                  MTBR04                            6179



                                                                                                       4/20/2021
                                                         Brad Burns
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                                                                Document    Page 12 of 18



                                                                                A



                                                                            4/20/2021
                4938 Montford Ct                                                   Duluth                              30096




                                                                     n/a




                                                   Nogales & Associates
                                     1805 Herrington Ln, Lawrenceville, GA 30043

                                                              770-263-9990
                                                            (770) 263-9992
                                                   preclosing@nogalesfirm.com

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                                                  CONVENT ONAL LOAN CONT NGENCY
                                                          EXH B T   B




                                                                                                                                                   2021 r nt ng

         This Exhibit is part of the Agreement with an Offer Date of                    4/20/2021                for the purchase and sale of that certain
          roperty known as:        4938    Montford Ct                                     ,                Duluth              , Georgia     30096

         1. Appl cat on. Buyer shall promptly apply for and in good faith seek to obtain the conventional loan or loans described below (“Loan(s
            such that Buyer can fulfill Buyer s obligations hereunder prior to the expiration of this Conventional Loan Contingency
            [Select A. or A. and B. below. Any box not selected shall not be a part of this Agreement. All Loan terms must be filled in.]
                  A.                               Loan Amount       Term   nterest Rate (at par           Rate Type            Source Of Loans Term
                             F RST
                           MORTGAGE
                             LOAN                  95      of        30         3        per annum        Fixed                     nstitutional
                                                 purchase price    years    (or initial rate on
                                                                            adjustable loan
                                                                                                          Adjustable               Seller

                                                                                                           nterest Only            Other


                   B.
                            SECOND                          of                           per annum        Fixed                     nstitutional
                           MORTGAGE               purchase price   years    (or initial rate on
                             LOAN                                           adjustable loan
                                                                                                          Adjustable               Seller

                                                                                                           nterest Only            Other




         2. Use of art cular Mortgage Lender Unless an Approved Mortgage Lender is identified below, Buyer may apply for approval of the
            Loan(s with any institutional mortgage lender licensed to do business in Georgia f an Approved Mortgage Lender(s is identified below,
            Buyer shall apply for approval of the Loan(s with at least one such Approved Mortgage Lender Nothing herein shall require Buyer to
            obtain mortgage financing from an Approved Mortgage Lender

                     Appro ed Mortgage Lender(s
                     AMwest


                     (hereinafter singularly “Approved Mortgage Lender and collectively “Approved Mortgage Lender(s

         3. Buyer May Apply for D fferent Loan(s . A Loan Denial Letter (as that term is defined below must be for the Loan(s described above
            Buyer may also apply for different conventional loans than the Loan(s described above However, the denial of such other loans shall not
            be a basis for Buyer to terminate this Agreement Notwithstanding the above, Buyer shall not have a right to apply for a FHA, VA, or
            USDA loan unless the parties agree to amend this Agreement to add a FHA, VA, or USDA loan contingency exhibit meeting FHA, VA or
            USDA requirements, as the case may be (in which event this Conventional Loan Contingency shall no longer be part of this Agreement
            Nothing herein shall require the Seller to agree to amend this Agreement

         4. Buyer to Not fy Seller of ntent to roceed. hen it is known, Buyer shall promptly notify seller of any mortgage lender to whom Buyer
            has sent a notice of intent to proceed with loan application and the name and contact information for the loan originator

         5. F nanc ng Cont ngency. Buyer shall have 10 days from the Binding Agreement Date (“Financing Contingency eriod to determine
             if Buyer has the ability to obtain the Loan(s described above (“Financing Contingency       Buyer shall be deemed to have the ability to
             obtain the Loan(s unless prior to the end of the Financing Contingency eriod, Buyer: a notifies Seller that Buyer is terminating the
             Agreement because Buyer has been turned down for the Loan(s and b provides Seller within seven ( days from the date of such
             notice a letter of loan denial from a mortgage lender based upon the mortgage lender s customary and standard underwriting criteria
             (“Loan Denial Letter The Loan Denial Letter and mortgage lender issuing the Loan Denial Letter must meet all of the requirements set
             forth elsewhere in this Exhibit Notwithstanding any provision to the contrary contained herein, the Loan Denial Letter may be provided to
             Seller after the Financing Contingency eriod has ended if the above-referenced seven ( day period to provide the Loan Denial Letter
             falls outside of the Financing Contingency eriod
         TH S FORM S CO YR GHTED AND MAY ONLY BE USED N REAL ESTATE TRANSACT ONS N WH CH             Hooker Int Realty           S NVOLVED AS A REAL
         ESTATE L CENSEE. UNAUTHOR ED USE OF THE FORM MAY RESULT N LEGAL SANCT ONS BE NG BROUGHT AGA NST THE USER AND SHOULD BE RE ORTED TO
         THE GEORG A ASSOC AT ON OF REALTORS® AT (770 451-1831.
         Copyr ght      2021 by Georg a Assoc at on of REALTORS ®, nc.                          F404, Con ent onal Loan Cont ngency Exh b t, age 1 of 3, 01/01/21
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         6. Use of Appro                                    Document
                                  ed Mortgage Lender and Loan                 Pagehas
                                                              Den al Letter f Buyer 14agreed
                                                                                        of 18to apply for the Loan(s with an Approved Mortgage
            Lender, the Loan Denial Letter must be from an Approved Mortgage Lender f Buyer is not required to apply for the Loan(s with an
            Approved Mortgage Lender, the Loan Denial Letter may be from any institutional mortgage lender licensed to do business in Georgia A
            Loan Denial Letter from a non-institutional mortgage lender shall not be the basis for Buyer to terminate this Agreement

             Notwithstanding any provision to the contrary contained herein, the Loan Denial Letter may not be based solely upon one or more of the
             following: (a Buyer lacking sufficient funds other than the amount of the Loan(s to close (b Buyer not having leased or sold other real
             property (unless such a contingency is expressly provided for in this Agreement (c Buyer not having provided the lender(s in a timely
             fashion with all information required by lender, including but not limited to, loan documentation, Official ood nfestation Reports,
             structural letters, well tests, septic system certifications, flood plain certifications and any other similar information required by lender
             (hereinafter collectively “Required nformation or (d Buyer making purchases that adversely affect Buyer s debt to income ratio

             Buyer may terminate this Agreement without penalty based upon an inability to obtain the Loan(s only if Buyer fulfills all of the applicable
             requirements set forth in this Exhibit

         7. R ght of Seller to Request E dence of Buyer s Ab l ty to Close. f the Financing Contingency ends without Buyer terminating this
            Agreement, Seller shall have the right, but not the obligation, to request that Buyer provide Seller with written evidence of Buyer s
            financial ability to purchase the roperty (“Evidence A copy of a loan commitment from each institutional mortgage lender from whom
            Buyer is seeking mortgage financing to purchase the roperty stating the type, amount and terms of the loan(s and the conditions for
            funding the loan(s , shall be deemed sufficient Evidence The provision of such Evidence is not a guarantee that the mortgage loan(s will
            be funded or that Buyer will close on the purchase of the roperty Buyer shall have seven ( days from the date Seller delivers notice to
            Buyer requesting such Evidence to produce the same No request for such Evidence shall be made by Seller less than seven ( days
            from the date of Closing

         8. Seller s R ght to Term nate. n the event Buyer fails to provide Seller with the Evidence of Buyer s Ability to Close within the timeframe
            set forth above, Seller shall notify Buyer of the default and give Buyer three ( days from the date of the delivery of the notice to cure the
            same f Buyer does not timely cure the default, Seller may terminate this Agreement within seven ( days thereafter due to Buyer s
            default upon notice to Buyer n the event Seller does not terminate this Agreement within that timeframe, the right to terminate on this
            basis shall be waived

          . Author at on of Buyer to Release nformat on to Seller and Brokers. Buyer does hereby authori e Seller and the Brokers identified
            herein to communicate with the lenders with whom Buyer is working to determine and receive from said lenders any or all of the following
            information: (a the status of the loan application (b Buyer s financial ability to obtain the Loan(s or other loans for which Buyer has
            applied (c whether and when Buyer provided the lenders with Required nformation (d whether and what conditions may remain to
            complete the loan application process and issue of a loan commitment and (e the basis for any Loan Denial Letter

       10. M scellaneous. For the purposes of this Exhibit, the term “mortgage loan shall refer to a secured lending transaction where the loan or
           promissory note is secured by a deed to secure debt on the roperty hether such mortgage loan is a first or second mortgage loan is a
           reference to the legal priorities of the deeds to secure debt relative to each other and other liens and encumbrances

       11. Appra sal Cont ngency. n addition to Buyer s other rights herein, this Agreement shall be subject to the following appraisal contingency
           Buyer shall cause the Lender to: (a select an appraiser to perform one or more appraisals of the roperty and (b provide Seller with a
           copy of any appraisal that is for less than the purchase price of the roperty f any such appraisal is for less than the purchase price,
           Buyer shall not later than      15       days from the Binding Agreement Date have the right to request that Seller reduce the sales price
           of the roperty to a price not less than the appraised price by submitting an Amendment to Sales rice (F 1 (“ATS            to Seller along
           with a copy of the appraisal supporting the lower price n the event that Buyer does not timely submit an ATS to Seller, Buyer shall be
           deemed to have waived Buyer s right to do so and this Agreement shall no longer be subject to an appraisal contingency

             Seller shall, not later than three ( days from the date of an ATS is delivered to Seller (but not later than two (2 days prior to Closing ,
             accept or reject the ATS or seek to negotiate with Buyer a lesser reduction in the sales price of the roperty than what is reflected in the
             ATS f, within the above timeframe, an ATS has not been signed and accepted by the Buyer and Seller and timely delivered to create
             a legally enforceable amendment, Buyer shall have an additional three ( days (but not later than one (1 day prior to Closing to
             terminate this Agreement without penalty f Buyer does not terminate the Agreement within this timeframe, Buyer s right to terminate due
             to the failure to agree to an ATS shall be waived and Buyer shall close on the roperty for the purchase price set forth in this
             Agreement Nothing herein shall require Buyer to seek a reduction in the sales price of the roperty




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                                                                               Paula Van Sickle                          7YE7-06L4-RARK-SJA5


         1 Buyer s S gnature                                                   1 Seller s S gnature

         Dulanhe Hooker
          rint or Type Name                                                      rint or Type Name


         2 Buyer s S gnature                                                   2 Seller s S gnature


           rint or Type Name                                                     rint or Type Name


             Add t onal S gnature age (F267 s attached.                           Add t onal S gnature age (F267 s attached.


                     Hooker International Realty                                                 BHGRE Metro Brokers
         Buyer Brokerage Firm                                                  Seller Brokerage Firm
                                                                                                                         dotloop verified
                                                                                                                         04/20/21 6:01 PM EDT
                                                                                Brad Burns                               ZCOZ-S6OO-ZR49-CMUL


         Broker/Aff l ated L censee S gnature                                  Broker/Aff l ated L censee S gnature

         Lina Santiago                                                          Brad Burns
          rint or Type Name                                                      rint or Type Name
                                                                                   NAMAR
         REALTOR          Membership                                           REALTOR      Membership




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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

IN RE:                                          |
                                                |
PAULA SPEROS VAN SICKLE,                        |      CHAPTER 13
                                                |
         DEBTOR                                 |      CASE NO. 16-65093-SMS
                                                |

                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a true and exact copy of the foregoing

“Notice” and “Amended Emergency Motion to Sell” to the following:

Mary Ida Townson, Chapter 13 Trustee            Electronically

Paula Speros Van Sickle
4345 Pinewalk Drive
Alpharetta, GA 30022

All Creditors On The
Attached Mailing Matrix

by electronic service upon filing with the Court or by placing a copy of same in a properly

addressed envelope with sufficient postage affixed thereon to insure delivery and depositing

same in the United States Mail.

         Dated: April 22, 2021                  Respectfully Submitted,
                                                JEFF FIELD & ASSOCIATES

                                               /s/ Christopher J. Sleeper
                                                ____________________________________
                                                CHRISTOPHER J. SLEEPER
                                                Attorney for Debtor
                                                State Bar No. 700884
342 North Clarendon Avenue
Scottdale, GA 30079
404-499- 2700
contactus@fieldlawoffice.com
              Case 16-65093-sms             Doc 100 Filed 04/22/21 Entered 04/22/21 08:29:10 Desc Main
Label Matrix for local noticing                  Arnall Golden Gregory,Page
                                                    Document           LLP 17 of 18 Michael J. Bargar
113E-1                                               171 17th Street NW                                   Arnall Golden Gregory, LLP
Case 16-65093-sms                                    Suite 2100                                           Suite 2100
Northern District of Georgia                         Atlanta, GA 30363-1031                               171 17th Street, N.W.
Atlanta                                                                                                   Atlanta, GA 30363-1031
Wed Apr 21 14:47:03 EDT 2021
Breast Cancer Specialists LLC                        Capital One Bank (USA) N.A.                          Capital One NA
975 Johnson Ferry Rd                                 POBox 71083                                          c/o Becket and Lee LLP
Suite 500                                            Charlotte, NC 28272-1083                             PO Box 3001
Atlanta, GA 30342-4737                                                                                    Malvern PA 19355-0701


Capital One, N.A.                                    CitiCards CBNA                                       (p)INTERNAL REVENUE SERVICE
c/o Becket and Lee LLP                               PO Box 9001037                                       CENTRALIZED INSOLVENCY OPERATIONS
PO Box 3001                                          Louisville, KY 40290-1037                            PO BOX 7346
Malvern PA 19355-0701                                                                                     PHILADELPHIA PA 19101-7346


R. Jeffrey Field                                     (p)GEORGIA DEPARTMENT OF REVENUE                     S. Gregory Hays
Jeffrey Field & Associates                           COMPLIANCE DIVISION                                  Hays Financial Consulting, LLC
342 North Clarendon Avenue                           ARCS BANKRUPTCY                                      Suite 200
Scottdale, GA 30079-1320                             1800 CENTURY BLVD NE SUITE 9100                      3343 Peachtree Road, NE
                                                     ATLANTA GA 30345-3202                                Atlanta, GA 30326-1420

IRS Insolvency Unit                                  JC Penney/SYNCB                                      Kohls
401 W. Peachtree St., NW                             PO Box 960090                                        PO Box 2983
Room 400, Stop 334-D                                 Orlando, FL 32896-0090                               Milwaukee, WI 53201-2983
Atlanta GA 30308-0000


(p)DSNB MACY S                                       Office of the United States Trustee                  PYOD, LLC its successors and assigns as assi
CITIBANK                                             362 Richard Russell Building                         of Citibank, N.A.
1000 TECHNOLOGY DRIVE MS 777                         75 Ted Turner Drive, SW                              Resurgent Capital Services
O FALLON MO 63368-2222                               Atlanta, GA 30303-3315                               PO Box 19008
                                                                                                          Greenville, SC 29602-9008

(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Resurgens Surgery Center, LLC                        SYNCB/Belk
PO BOX 41067                                         5671 Peachtree Dunwoody Rd NE                        PO Box 530940
NORFOLK VA 23541-1067                                Ste 800                                              Atlanta, GA 30353-0940
                                                     Atlanta, GA 30342-5021


Lucretia Lashawn Scruggs                             U. S. Attorney                                       Wells Fargo
LOGS Legal Group, LLP                                600 Richard B. Russell Bldg.                         Default Doc Proc. N9286-01Y
211 Perimeter Center Parkway, N.E.                   75 Ted Turner Drive, SW                              1000 Blue Gentian Road
Suite 300                                            Atlanta GA 30303-3315                                Saint Paul MN 55121-7700
Atlanta, GA 30346-1305

Wells Fargo                                          Wells Fargo Bank, N.A.                               Wells Fargo Card Services
PO Box 6995                                          Wells Fargo Card Services                            PO Box 5284
Portland, OR 97228-6995                              PO Box 10438, MAC F8235-02F                          Carol Stream, IL 60197-5284
                                                     Des Moines, IA 50306-0438




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
              Case 16-65093-sms   Doc 100 Filed 04/22/21 Entered 04/22/21 08:29:10 Desc Main
Department of the Treasury             GEORGIA DEPARTMENT OF REVENUE
                                          Document           Page 18 of 18 (d)Georgia Department of Revenue
Internal Revenue Service                COMPLIANCE DIVISION                      Compliance Division
Philadelphia, PA 19255-0030             BANKRUPTCY SECTION                       1800 Century Blvd., NE, S9100
                                        1800 CENTURY BLVD. NE, SUITE 9100        Atlanta GA 30345-0000
                                        ATLANTA, GEORGIA 30345-3205

(d)Internal Revenue Service             Macy’s/DSNB                              Portfolio Recovery Associates, LLC
PO Box 80110                            PO Box 8053                              POB 41067
Cincinnati, OH 45280-0010               Mason, OH 45040-8218                     Norfolk VA 23541



End of Label Matrix
Mailable recipients    26
Bypassed recipients     0
Total                  26
